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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
 U.S. DOMINION, INC., DOMINION
                                                    )
 VOTING SYSTEMS, INC., and DOMINION
                                                    )
 VOTING SYSTEMS CORPORATION,
                                                    )
                                                    )
        Plaintiffs,
                                                    )
                                                    )   Case No. 1:21-cv-00213-CJN
            v.
                                                    )
                                                    )
 RUDOLPH W. GIULIANI,
                                                    )
                                                    )
       Defendant.
                                                    )


                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff submits this notice to alert the Court and parties that Plaintiff may rely on the

following case at oral argument to respond to arguments raised in Defendant’s Reply: Solers, Inc.

v. Doe, 977 A.2d 941, 948-49 (D.C. 2009).




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Dated: June 23, 2021                    BY:     SUSMAN GODFREY LLP

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of June 2021, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.



                                                   /s/ Justin A. Nelson
                                                   Justin A. Nelson




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